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      5
                             iN TTffi CIRCUIT COURT OT THE STATE OF OREGON
      6
                                         FOR'I'HE COUNTY OF MULTNOMAH


      I
          KÅNAAN KÄNÄÄ.N,                                            Cass No,
      I
                                                                     COMPLÁ,TN,r
     10                         Plaintiff,
                                                                     (RaceNational Origin Discrimination/
     1f          vs                                                  Retaïiatïon; 42 IJSC $ i981)

     12                                                              Danages $410,000,00
          PORTLANÐ STATE         UNMRSITy,
     13
                                Defendant.                           CLAINdS NOT SÏ}BJACT TO
     14                                                              MANDÀTORY ARßITRATIÛN

     r5                                                              JURY TRIAL REQUNSTEÐ

     16

     17          Plaintiff demands   a   jury ttial and alleges:

     18                                                         1.

                                                               o'PSUoo),
     t9          Defendant Portlaad Statç Univer:síty, (herein           is a pubiic university located         in

     20   Orcg*:n, and doingbusinsss inthe State of Oregon, Muhnomah Courtty.

     2t                                                        2,

     1)                                          ooKanaan"),
                 Plaintiff Kanaan Kanaan (herein             at all material tirnç hereto, is         a male Oregon

     ¿J   resident of Middle Eastern desoent, residing       i* Multnornah      County.

     24                                                         1.

     25          Kanaan was employed by PSU fi'om 2002               ta}tl0   as an arì professol'or1 â part-time year

     26   to yeal basis. In January 201    1, hc was hired   into the newly created Middle Eastem Student




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 1   Retentíon Specialist position at the Office of Intetnational Aff'airs ("OIA"), His direct supervísor
 1   was Jill Townley, Assistant Direetor of Intenrational Student Lífe. I{er $upervisor was Judy Van

 3   Dyck, Director of Intematic¡nal Student Servises.

 4                                                     4.

            Thc new Middle Ëastem Student Retenfion Specialist position required development of a

 6   prog{am cornpatible with PSU's system including existing progl'âms to help both PSU and

 7   Intensive English Language Program ("IËL1t"¡ students. Kanaan crcated programs to suppart the

 I   Mìddie Eastern students aniving and attending PSIJ, including lxrt not iimited to orientations in

 I   Arabic for those with no prior knowledge of English (IELP students) and guidelines to help

10   students maintain their GPAs and visas statuses, all without any templates or guidelines from

11   PSIJ fcrr Xhe pragrams and seryices to be overseen by the Middle Eastenr Studcnt Retention

t2   Specialist. Kanaan leceived little support in this prose$s,

t3                                                     5.

14          Kanaan proposed a Middlc Eastern sülturål presentation for:the Cornmittcc      of
15   International Resruitment and RetentÌon f'CIRRo), as a way to provide a better understanding of

16   Middle Eastem cultules to assist Respondent ín reoruitment and retentíon of this populatìon.

17   Kanaan's proposal was declined and his effcrïs at eultur'¿l training were met with oveft and

18   antagonistic resistance. He was excluded from Student LÌ'fe Team meetings and required to meet

19   weekly with Townley ånd Van Dyck to discuss his performancs and progl$ss.

20                                                     6.

2l          Kanaan requested PSU hire a work-study volunteer to assist him, The prucess took

22   aparoximately 6 months. In conüast, when a white female coworker requested an assistau*t, one

23   was hired for her within a few weeks.

24                                                     'î.

25          Just before the 201,4'Winter Teffio Kanaan complained to PSU that the contracts     for

26   Middle Eastern students who came hcre to learn with no priar knowledge of English were in




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     'Ënglish
 I              only. The contlacts specified that these students would have to repeat (and pay again for)

 2   Llte entíre     telï1, wÇre they to fail one class, The contract also mandated them to pay an extra $800

     for unspecified o'extt:a support." Kanaan complained to PSU adlninistr'ation o.[the disparate ways
 Á
 T   that Míddle Eastern students wer,e being treated and aslced to plovide the students an Arabic

 5   tr:a¡rsLation of the contract. PSU    initially refirsed, then delayecl, and eventnally pr:ovitled Arabic-

 6   speaking studenfs with a linrìted explanation af the contract,

                                                              L
 I              Throughout the course of Kanaan's en:ployment as thc Middte Eastern Student Retcntion
 q   Specialist, Dofendant dissr'íminated against him by excluding him fiom Student Life Teanr meetings

1t   and withholding information fi'om him abaut upcoming serninars and cantbrences; telling him that

11   they were surplised he lasted so long in his employment with PSU; denying his agenda items in

t2   rneetings; telling him to turn away "non*matricuÌated" (øÃa Intensive Englísh Language Progt'am,

t3   .'IELP') Middlc         astern. students, even though    it is culturally insulting to do so; never giving hím

t4   a name lag       while providing ane instantly to calleagues hlred before and after him; not praising his

15   wor* despite having caused aruund 800 student visits and helpíng hundreds ofthese students, whÌle

16   praising    a   white employee after slre solved. one issue with   a   Middle Fastem studen[ subjecting him

t7   to nebulous assusations of beingo'hard ta work with" and criti*izing him after he requested help and

18   to be heard and included.

19                                                       9.

20              Defendânt furthcr discriminated against Kanaan by telling him his office decor wâs "too

21   Middle Eastern" and re-questing he make it less so, then packing all his Middle Eastern afiifacts

22   into boxes when he was attcnding a conference around May 13, 2014; negatively stereotyping his

23   passior for his work- as *'threatening;"mcnitoling his comings and goings and requiring he oall or

24   email every day to announc€ his auival in the olfice while not requiring this of his non-Middle

25   Eastern colleagues; telling him they would install a window on his office door to monitor his

26   activities in his office, while not tleating his non- Middle Eastem coworheß in a similar'þ




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     1    suspicious manner; and movÍng Kanaan into an office that caused him í¡nmense stress and
     a    refusing to move hinr into a vacant offiç.e that was morc suitabls.

     3                                                       10.

     4           I(anaan took sonre tinre off for vacation in the sumnor of 2013, duling which he grew a

     5    beal:d. Van Ðyke asked one of the    Middle Eastern students what "[was] rrp wilh tlre beard."

     6                                                       11.
     ,I
                 In September: of 2013, Kanaan filed    a   cornplaint against Jill Townley witlr PSU's üffice

     I    of Equity and Complisnce. In October of 2013, Ramon Diaz fi'om Defendarrtos Human Resoulces

     I    department contacted him to conduct a mediation between him and Townley. At the end of the

10        mediation, he was thr"satened with "discíplinary action."

1i                                                           t2.

T2               In December, 2013, FSU inf'orned Karraan tllat it would not be renewing hìs contract at

13        thc end ofJune,

T4                                                           i3.
15               On Ja*uary 17,zìll,Clrief Campus Publis Safety Officer Phil Zerzan informed l(anaan

16        that PSU \ryas çonçerned about *threats" he hacl allegedly made. Kannan had made no thleat. He

T7        had exprcssed frustration to a   forner colleague coneerning FSU's hostile wolk environment and

18        the stated that he wauld nottolemte the discrimination against himself ånd the Middle Eastent

19        student populafion he was hired to support, On that same day, PhilZarzanaslçed Kanaan          if   he

2A        wanted to work ftom home.

2T                                                            14.

22               On January 21,2t14, PSU called Kanaan to meet with Ran V/itczak and Ramon Diaz at

23        the Human Resouçes office, Kanaan expressed issues he was having at OIA and the possibility

24        of working finm home. IVitczak and Diaz left      tle room and same back with    a letter thât stated    it
'l   c,
          had become   "difficult fbr [Kanaan] to continue wcrking at PSU'and that'koïk assignment will
26        not require [his] presencs at the University, and [that day was his] last day of wor* in the offico."




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 I   FSU specified Kanaan lvas required to wolk fl'orn home and that he wouid not be pennitted in his

 ¿   office.ol to have access to hís wotlc emaii, FSU then asked him to surender his keys and baclge

 J   and PSU had him escorteclout by security.

 4                                                        15.

 {              Following the nreeting described in paragt'aph 12, Kanaan filed a second complaint with

 6   PSU's Office of Equity and Cornpliance,

 7                                                        16.

 I              Thereaflero based on information and belief; PSU contacted Portland Cornmunity College

 I   (herein o?CC") and induced it ta cancel l{anaan's pre-aüanged visit for Hnglish Cl*sses for

1û   Middle Eastern students and interfered with his subsequent job opportunities at PCC as an

11   International Student Activities Cc¡ordinator.

t2                                                        17.

13              Defendant continued to letaliate against Kanaan fhloughout Spring teun of 2ü14,

14   including interfer:ing with his participation in a joint researçh projçct betwcen Qatar Universify
                                                             o*dífficult" to work with; refiising to
15   and PSU' by telling the project leader that he would be

L6   pr:ovide spaee where he could meet with students despíte his continued rcquests, and making           it
l7   diffisult for Kanaan tô contâct the students he was hired to suppÕlt,
18                                                        18.

i9              As a direct result of Defendants' conduct, plaintiff has suffered lost wages in an amount

2t   to be determined by the jury at tr"ial, whioh amourrt is alleged to be $160,000 lcss:nitigation.

2t                                                        19.

11              As a firrther result of defendant's actions, plaintiff suffered emotional dístress in an

23   amorur-t to be deterrnined by a jury at túa1,   which ar*ount is alleged to be $25û,00û,

24   lil
25   /il
26   //t




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 I                               FIRST CLAIM        TTOR   RELTET (42 USC $ 198U
 n                                              Civil Rights - Vio[*tions

 -t            I'laintiff realleges   and incorporatÊs pâragl'aphs 1 through   l9   above,

 4                                                         19,

 5             As descr:ilied herein, Defendant impailed PlaintifPs contract lights          c¡n   the basis of race,

 6    ethnicity or national origin in violation of 42 USC $1981.

 7                                                         20.

 I             As desoribed herein, Defenclant retaliated against Plaintiff in the tenrrs and oonditians of

 I    his employment due to his complaints of harassment, dismimination based or r'âcs or etlmicíty,

10    and retalíation in violation of 42 USC $1981.

11                                                         21.

12             As described hercin, Defendant r:etaliated against Flaìntiff by taking actions against him

13    which wogld deter a rcasonable perscn fi'om complaining in violation of 42 USC $ 198 1 .

t4                                                         22.

15             Plaintiff is entitlsd to reinstatement as a result of Defendant's unlawfül employment

16    practioes and i{unctive reliof ordering Defendant to cease and desist íts illegal practices rurder

l?    each above eited statute and to take appropr:iate steps to ensure sçch conduct doçs nct occur

18    again.

t9                                                         23.

2A             Plaintiff is entitled to reimbursement of his reasonable attorneys' fees and costs pursuant

2l    to 42 USC Ë 1988.

1)

23             IVI'"IERËFOKE, Plaintiffprays for his casts and diso-ursements incuued hereÍn and for the

24    fallowing in accordance with the proof at tlial:

25             l,       Economic damages;

26             2.   .   Non-economic damages;




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 I          3.      Reinstatement or future lost wages;

 2          4.      Roasonable attorneyso fees arrd costs;

 J          5.      Prejudgment and post judgmênt intsrest as apprcpriåts ând allowed by law;

 4          6.      On all claims, as applicable, amounts necessary to offset the income tax

 {   ßonssquences of receiving a lump sum paymentn rather than receiving å pâymsnt of wages over

 6   the applicable time frame;

 7          8.      Any and all other relief as the jury and this court may deern ploper.

 I          DATED this   ffiayof      June,2018,
 I                                                           L¡w   OrpIcEs or SUE-DEL MçCULLoCHLLc
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12
                                                             Attnrney for
i3
14
                                                             $JßY TRrAr RËOUESTED.
15

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t7
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T9

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     FAGET-COMPLATNT
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